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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF GEORGIA
                                ALBANY DIVISION

DEBORAH LAUFER.,                                :
                                                :
        Plaintiff,                              :
                                                :
v.                                              :        CASE NO.: 1:20-CV-53 (LAG)
                                                :
VRAJ HOSPITALITY, LLC                           :
                                                :
        Defendant.                              :
                                                :
                                              ORDER
        Before the Court is a request by the Clerk of Court to review two docket notices
regarding Defendant’s failure to hire counsel or file a pro hac vice application. (See
Docket). The Court held a show cause hearing on March 4, 2021 to determine whether
Plaintiff’s Complaint should be dismissed for failure for adhere to the Court’s Scheduling
and Discovery Order. (Doc. 21). The Court found that Plaintiff met her burden for good
cause and the Court dissolved the Show Cause Order (Doc. 12). (Doc. 21). Defendant’s
registered agent, Ms. Sujata J. Patel, was present at the show cause hearing. (See id.).
Ms. Patel, who is a Florida licensed attorney, asked if she could represent Defendant pro
se. The Court informed Ms. Patel that because Defendant is a limited liability company
(LLC) it could not be represented pro se. See Palazzo v. Gulf Oil Corp., 764 F.2d 1381,
1385 (11th Cir. 1985) (“The rule is well established that a corporation is an artificial entity
that can act only through agents, cannot appear pro se, and must be represented by
counsel.” (citations omitted)). The Court also informed Ms. Patel that she could either hire
counsel or apply to be admitted pro hac vice pursuant to the rules located on the Middle
District of Georgia’s website.1




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         See  Attorney     Admissions,    U.S.      DIST.      CT.     MIDDLE      DIST.   OF   GA.,
https://www.gamd.uscourts.gov/attorney-admissions (last visited April 22, 2021).
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       On March 18, 2021, the Clerk of Court notified the Court that Ms. Patel had not
submitted her pro hace vice application. (See Docket). The same day, the Clerk of Court
sent a notice to Ms. Patel that if she did not submit her application within fourteen days a
show cause hearing would be scheduled. (See id.). Ms. Patel emailed the Court on March
30, 2021 asking to appear pro se in this case because she does not meet the pro hac vice
requirements and because the Georgia attorney she hired is not admitted to practice in
federal court. Two days later, the Court responded and reiterated that Defendant must be
represented by counsel because it is an LLC. To date, Ms. Patel has not submitted a pro
hac vice application or hired another attorney admitted to practice in federal court.
Accordingly, Ms. Patel and Defendant are ORDERED to appear at a show cause hearing
on May 5, 2021 at 3:00 PM ET via Zoom to show why they should not be deemed to have
defaulted.     See, e.g.,    Isabella     Marine      Holding,     LLC       v.    Purcell,
No. 15-10168-CIV-MARTINEZ/GOODMAN, 2017 WL 3392498, at *4 (S.D. Fla. Aug.
8, 2017) (recommending that the district court use its inherent authority to enter default
against defendant for failure to comply with court orders to retain counsel), report and
recommendation adopted sub nom. Isabella Marine Holdings, LLC v. Purcell,
No. 15-10168-CIV, 2017 WL 10753131 (S.D. Fla. Aug. 23, 2107); see also Tumi v.
Wally’s Waterfront Inc., No. 2:05-cv-551-FtM-29SPC, 2007 WL 678013, at *1 (M.D. Fla.
Mar. 5, 2007) (finding entry of default judgment was appropriate after corporate defendant
failed to obtain counsel as directed by the court).

              SO ORDERED, this 27th day of April, 2021.

                                           /s/ Leslie A. Gardner
                                           LESLIE A. GARDNER, JUDGE
                                           UNITED STATES DISTRICT COURT




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